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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11         RALPH COLEMAN, et al.,                        No. 2:90-cv-0520 KJM DB P
12                         Plaintiff,
13               v.                                      ORDER
14         EDMUND G. BROWN, JR., et al.,
15                         Defendants.
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18                    On February 19, 2019, the court received the neutral expert’s monthly invoice for
19     services rendered through January 31, 2019. In accordance with the district court’s January 8,
20     2019 order, ECF No. 6064 at 5, the court reviewed the invoice and, by order filed February 26,
21     2019, directed the neutral expert to submit a new summary invoice omitting certain requested
22     payments. ECF No. 6099. The revised summary invoice was distributed to the parties on March
23     1, 2019. See ECF No. 6064 at 5. A copy of that revised invoice is filed concurrently with this
24     order, along with the detailed billing summary provided for the court’s review, under seal.1
25     Attachment A, Email dated March 9, 209 from Benjamin Wagner, Esq. (filed under seal).
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        The detailed billing statements of the neutral expert will be maintained under seal pending
28     completion of his work to protect the integrity of 1his investigation. See ECF No. 6083 at 2.
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 1             On March 8, 2019, defendants submitted objections to the proposed final invoice. See

 2     Attachment B, March 8, 2019 Letter from Supervising Deputy Attorney General Adriano Hrvatin

 3     to Honorable Deborah Barnes. On March 9, 2019, the neutral expert responded to defendants’

 4     objections. See Attachment C, March 9, 2019 Letter from Benjamin B. Wagner, Esq. to

 5     Honorable Deborah Barnes.

 6                     The court has reviewed defendants’ objections and the neutral expert’s response to

 7     those objections. Defendants’ first objection is interposed to preserve certain rights before the

 8     district court and on appeal. Defendants’ second objection has been satisfactorily addressed by the

 9     neutral expert in his response.

10                     Accordingly, good cause appearing, IT IS HEREBY ORDERED that:

11                     1. The Clerk of the Court is directed to maintain Attachment A to this order under

12     seal until further order of court; and

13                     2. Within five days from the date of this order defendants shall pay to the neutral

14     expert the amount of $342,771.94 as reflected in the final invoice for services rendered through

15     January 2019.

16                     IT IS SO ORDERED.
17     Dated: March 14, 2019
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